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     Attorney for SUNITA SINGH
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9
                                IN THE UNITED STATES DISTRICT COURT
10

11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

12
            UNITED STATES OF AMERICA,               )   Case No.: 1:1500045 LJO
13                                                  )
                                                    )   STIPULATION AND ORDER TO
14                                 Plaintiff,       )   PERMIT INTERNATIONAL TRAVEL
                                                    )   FOR FUNERAL
15                         v.                       )
                                                    )
16                                                  )
            SUNITA SINGH,                           )
17                                                  )
                                   Defendant.       )
18                                                  )
19          TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
20
     LAWRENCE J. O’NEILL AND HENRY Z. CARBAJAL, ASSISTANT UNITED STATES
21
     ATTORNEY:
22
            COMES NOW Defendant, SUNITA SINGH, by and through his attorney of record,
23
     Virna L. Santos, hereby requesting Mrs. Singh be permitted to travel New Delhi, India from
24

25   February 8, 2019 until March 1, 2019 for the purpose of delivering her deceased husband’s
26   ashes to his birthplace to be scattered in accordance with Hindu tradition. (See Exhibit 1, Copy
27
     of travel itinerary.) Mrs. Singh, who is undergoing cancer treatment, will be accompanied by
28



     STIPULATION AND PROPOSED ORDER TO PERMIT INTERNATIONAL TRAVEL FOR FUNERAL
                                                                                                    1
           Case 1:15-cr-00045-LJO-BAM Document 203 Filed 02/07/19 Page 2 of 3


1    her two sisters, Sunen Devi and Shakuntla Devi.
2
            This travel is necessary to honor a Hindu tradition that requires that the deceased
3
     person’s oldest son deliver the ashes to the homeland to be scattered in sacred body of water.
4

5
     Mr. Singh’s only son, Praveen Singh, is unable to travel due to the charges pending against him

6    in this case. Mrs. Singh has no travel restrictions but seeks the Court’s permission to do so
7    with AUSA Henry Z. Carbajal’s acquiescence.
8
            IS SO STIPULATED.
9
                                                          Respectfully Submitted,
10

11
     DATED: February 6, 2019                              /s/_Virna L. Santos_________ _
12                                                        VIRNA L. SANTOS
                                                          Attorney for Defendant Sunita Singh
13

14
     DATED: February 6, 2019                              /s/_Henry Z. Carbajal _ _
15                                                        HENRY Z. CARBAJAL
                                                          Assistant U.S. Attorney
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     STIPULATION AND PROPOSED ORDER TO PERMIT INTERNATIONAL TRAVEL FOR FUNERAL
                                                                                                      2
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6                               IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9           UNITED STATES OF AMERICA,               )   Case No.: 1:15CR00045 LJO
                                                    )
10                                                  )   ORDER AUTHORIZING
                                  Plaintiff,        )   INTERNATIONAL TRAVEL FOR
11                                                  )   FUNERAL
                           v.                       )
12                                                  )
            SUNITA SINGH,                           )
13                                                  )
                                                    )
14                                Defendant.        )
                                                    )
15

16
                                                   ORDER
17
            Upon a showing of good cause and pursuant to the parties’ stipulated request for an
18

19   order authorizing defendant Sunita Singh’s travel to New Delhi, India for the purpose of

20   delivering her husband’s ashes in accordance with Hindu tradition, the court hereby GRANTS
21
     the requested authorization. The defendant’s is permitted to travel to New Delhi, India from
22
     February 8, 2019 to March 1, 2019.
23

24
        IT IS SO ORDERED,
25
        Dated:     February 7, 2019                        /s/ Lawrence J. O’Neill _____
26                                               UNITED STATES CHIEF DISTRICT JUDGE
27

28



     STIPULATION AND PROPOSED ORDER TO PERMIT INTERNATIONAL TRAVEL FOR FUNERAL
                                                                                                    3
